900 F.2d 253Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Quintin LITTLEJOHN, Petitioner-Appellant,v.STATE OF SOUTH CAROLINA, Respondent-Appellee.
    No. 89-6355.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 22, 1989.Decided March 8, 1990.Rehearing and Rehearing In Banc Denied March 30, 1990.
    
      Appeal from the United States District Court for the District of South Carolina, at Spartanburg.  Solomon Blatt, Jr., District Judge.  (C/A No. 86-2961-8K).
      Quintin Littlejohn, appellant pro se.
      William Alva Ready, III, Office of the Attorney General of South Carolina, for appellee.
      D.S.C.
      DISMISSED.
      Before K.K. HALL, MURNAGHAN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Quintin Littlejohn, a state prisoner, submitted his notice of appeal to prison authorities outside the 30-day period established by Fed.R.App.P. 4(a)(1).*   It was therefore untimely.   See Houston v. Lack, 56 U.S.L.W. 4728 (U.S. June 24, 1988) (No. 87-5428).  In addition, he failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).
    
    
      2
      The time periods established by Fed.R.App. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore deny a certificate of probable cause to appeal and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         For the purposes of this appeal, we assume that the date Littlejohn placed on the notice of appeal is the earliest date he would have submitted it to prison authorities
      
    
    